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         UNITED STATES DISfRIET                           COURT

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                                                                                                   og clr 6558 Crn|
         C0NSTELULtION LEASIIIG, LLC,
                                                                                                   +ffi+a?it,i"B
                                                             Plaintiff,                            $tfirlrort    of ktioa
                                                                                                              ef qf
                                                                                                   *f*q.g*Tfngsf,
                                     -v-                                                           \lque tg 9.g.D.e-
                                                                                                   Dist=ict of ki.tre
         oxroRDAvrATroH,rNc,,                                                                      m
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                                                                                          .




                  I,   .JamesHosowitz,                      hereby depose and say as follows:

                  1-     I an the President                                and Owner of Oxford Avi-atiotr.                   Inc-
         f am over tie          age of 18 and of sound mind and body,

                  ?.     Oxford             Aviation,                       Inc.         (..Oxford,')       is      a       Maine
        Corporation           with     a principal                     place of businese located                    in oxford
        County, Malne.

                  3-     rn    or     about April,                         ?009, charles            F.    oMickey.' Darton

        spoke to me about work to be done on the interior                                                       of a oaEsault
        Breguet Mystere Farcon 9008, FAA Reg. No. lr.??sF (the
                                                               Aircraft).
        tit-    Dalton had been referred                              to me by Adanr Alpert,                    a customer of
        mine,      rho   is     the        cousin            of       Robert           sands,   cEo of, consterration
        Erands, Inc,




FR/en   T,Err{                        FHf       hrEl{]}id        t}FHflH                           NRFFqZNq}F       NU:ZI    FSETIqB/'R
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                4-         on April            14, 2008, r forwarded a Jetter                                    to l{r.             Dalton
       with     an Estimate                   addressed to                'rConstellation             Aviation,,                 for     the
       uork         to     he     done          to        the        Aircraft.               A      signature               Line         for
      constelLation                Brands            was provided                  for       on     the         bot,tom of,              the
      Eet,imate.

                5-         on er about May 22, 2008, eertaln                                        emproyees of oxford
      and r          met with           Robert $ands, cEo of constellation                                       Brands, rnc,,
      to      give       a presentation                    of    variqus         designs            for        the    work to                be
      done to            the    interior             of     the Aircraft-                    Gisela        Alpert,              wife         of
      Adam Arpert,                was hired                es        a    design         consultant             regarding               the
      interior           work to be done by oxford,                                and ehe was present                          at this
      meeting and arranged the presentation                                        layout.

               6'         At,    alr          times,            Robert       sands,           cEo         of     consterl_ation
      Brands, rnc.,              appeared to be the one entering                                     into        the agreement
     with       oxford          for       the        work       to       be done on the                    interior              of     the
     Aircraft-                 Iluring        U"y,         2008, there             were several                  e*nails               frorn
     Gi-eera Alpert                   lnforming             oxford          that           Robert         sarrds       had           given
     approval            for    certain         materj.ale               arrd designs for             the interior                     work
     on the Aircraft-
              '7
                -        The      work          done        by        oxford          to     the      interior                  of     the
     Aireraft            n*s     done in             its        facility         in        oxford,         Haine           in        JuJy,
     August          and       Septeruber,            A00g.                fndeed,          this      r.as       requ5-red by
     Oxford's            E,.AARegulations                  (EARI part            141 license                   which provided
     t'hat    work done by oxford                           be done .'on siteo,                       that           is,        at     ite




Bs/sB scd                              ffil   HtsFfldv tlrqErH                                     365E9ZegF8              t4iaT       6SBa19B/FB
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         facility               in     Orfosd,          llaine.          Bacause the               landing          strip         at     Oxford

         Couoty        Airport            cauld            nat    aceomm$date the                    Aircraft.         it        Has agreed

         at      the         outeet.             that        the        interior          of         the     Aircraft             sould       be

         removed by                    oxford'e             personnel             in     Rochester               and deLivered                by

         truck         to            oxford's           facirity             in     Maine.                 The     renoval             of    the

         interior               of    the Aireraft                 and delivery                of the            same to          Oxford in

         Maine rras completed on or about June ZB, 2009.

                  8             It       had         further             been          agreed,             prior        to         Oxford's

         cotunencing work, between Nr.                                   Da1ton and others                       at Constellation,
         that         constellati.on's                       FAA ricensed                    personneL             would           have       to
         supervi.se,                 inspect,           sign           and    suhmit           arl         ..retutrn        to     service,
         dccuments when re-installation                                           work occurred-                    Re-installation
        of      the intgrior                  occurred            in    rate       september, 200g, in                           Rochester,
        under the supervision                              of Kenneth Bricker,                         Mtr. Bricker              hol-ds the
        title         sf        'rDirector            of                                          oConstelLation
                                                             Maintenance"               of                                       Aviation,
        rnc-"       and of *\constellation                              Leasing, LLc'.                  Mr. Bricker's                  e*ruair
        address            is    www.c,brandg-com_

                 9'             At the time of the re-installation                                          of     the interior              of
        the     Aircraft,                in      late        Septenber,                200g, Oxford's                Aep mechanic,
        Aaron ltardwell                  $as asked to instarr                           a rear         table.          $r,        Ilardrer_l
        however,            did        not      have eertain                 rivete          of      the     size      specified             to
        anchor the plate                       supporting               the tabre.                Mr. rtardrell                  asked Mr,
        Bricker,           of Constellation,                       if    certain         substi-tute              scnews ceuld be
        used.         !rr-       Bri.cker            approved the                 use of          those      substitute                scre*F




BAIEA   +!V.{                                 rlia   lfHt{FtH      t}FHrFl                                 TFFFqTAqTR            FT:EI      FBRTTqN/FA
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         and also           confir$ed         that        the    location          srhere the holes            Here to be

         drilled        uouLd not cause any problerur.

                  10,       $eme darnage did                occur as a result                 of the         installation

         of the rear            tabLe,        but this           damage was minimal                   and consisted          of

         four      (4) pin       holes that               eould be relat,ively                easity      repaired-          An

         authori-zed           Dassault, repair                 expert        provided       an estimate             of    less

         than $5,000-00 to repair                         these four "pin               holes'        uhich penet,rated

         the skin of the pressure vessel in the wheel ffell.

                  11-       Even       though             Mr-         Brieker,        of      the        coneterration

         companies,            had     approved             Hr.        lf,ardweLl.s         instarlation             of     the

        table,      oxford       agreed to repair                     the damage, and arrangements                         were
        tnade f,or the ALrcraft                      to     be flown          to    Fryeburg,          Maine which           rs
        near Orford, in late                  October,           2008-

                 12"        r employ approximately                       60 peopre at my company, oxford

        Aviation,           Tnc.,    in      our facility                in   Maine.         Approximately                3L of
        my employees performed                       work on the               lnterior       of      the Airqraft           in
        issue,         in    oxford,         F{aine.            rn     addition,        several        me$bers of            my
        offiee         staff     and accounting                      d,epartnent      performed          servlces           and
        had csnurunications                  regarding               oxford,s       work on the           interior           of
        the Aircraft.

                 L3.        Mickey          Dalton,             on     behalf        of       the       Constel,Iation
        Companies, came to                   my facility                in    oxford,       Maine 4 or           5 times
        after      the acceptance of Oxford's                            proposal         and estjmete          to      check
        efl the     progresa           of     the     work to           the      interior        of    the     Aircraft-




RB/CR   fFlV'{                       FFa hfiFl{]}s         r}FHr|}l                         NRFFqTNqbF          FZ:UI      FAqtJqR/bn
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          Adam Alpert            and €isela           Alpert        also     caue      to      $y     faeLlity         in

          oxford,        !{!alne to check on the progress                     and report            to t{r,       sands,

          cEs af constel-lation                   Brands,    Inc.     Gisel-a Alpert            also worked at

          my Mai.ne facility              en several        occasions.

                  14'      After      Lhe agreement was entered                       into      hetween Oxford

          and the         Constellation            Companies, i11 was reques'Led that                           Oxford

          send invoiees             for     its     work on the            Aireraft      to     nConst,ellation

          r.,easing, Lr'co.           constellation           Leasing,       Ltc did         not however make
          palment on account of these invoices.

                  15-      A   compafly named "consterlation                      wines,        u.s.        rnc,,       A
          const,ellation            corqpany,"       made payments to             oxford            for   the      work
         oxford     did on the interior                of the eubject Aircraf,t                 as forlows;

                           95/t4/oa                                 $ 25,000-00
                           06/04/08                                   2 5 ,0 0 0 . 0 0
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                           0 7/ 2 3 / 4 8                             ? 5 , 0 0 0 .0 0
                           s8/06/08                                   2 5 , 0 0 0- 0 0
                           08/13/08                                   25,000.00
                           0 8l z o | 0 8                             2 5 ,0 0 0 . 0 0
                           10/01/08                                  11 3 ,4 ? 4 . 3 1


                  L6.     On october         ?4, A00g I received              a Letter         from Thomas
         Mu-rlin'       Executive vice-Fresident               and General counsef of
         Constellation          Brands, fnc",          advis5.ng that          they ..intend to have
         another        suppli.er    assess and repair              the damage and compl_ete the
         remodeling        watku.         r then notified           my attorney',           pierce,       Atwood,
         and they filed          suj-t on behalf            of oxford       against      canstellation
         Brands, rnc- in F{aine superi-or court                       on octeber         r0,    200g.




Fn,ICg   Tltsr{                       rse urst-|ruforlrHrul                           AFFFqTIqIF          NE:NI    FfrtrT/qfi/fn
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          constellatiqrn       Brands, rnc.            then rmoved           that    actj_on to the
          tJnited states       District         court.        District     of Maine, uhere it            is now
          pending,

                  17.     rn summary, the agreement irt issue was entered into

          between oxford        and *conetellat.ion               Brands, rnc,',         through its         cso,
          Robert Sands, and with                'rconstelration           Aviation',.      Essentially,
          aII    of the work done pursuant to the agreement *as done in Maine

         at oxford's        facility.       A substantiar                number of nonrparty
         wltnesses       are in oxford,           t{aine-        oxford's      onry contact. with
         '*constellation       Leasing,         LLc- was to send it                 invoices      for work
         done on the interior             of, the Aircraft-                constellation       teasi.ng,
         rJLc did not make payments on account of theee invoices.                                       Rather,
         "constellalion        lrlines, u.s.         rnc.,      A constelration          company- made
         the payments an account of the invoices                            sent to *.ConEteltation
         Leasing, LLC-.

                 L8.     Based upon the above facts                  and circumstances             lt   1s
         reepectfully       requested that            this      Dietriet      court,     Brlestern
         District       of New York, action              instituted        by .,Congtellation
         Leasing,       LLc- be transferred             to and consolidated              with the action
         now pending in lilaine District                  Court,     entitled        Oxford Aviation

                                                                  Civi}     Action      No- Z:08-CV-41g.




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       Dated;        Aprt1     , 2AAg




       THE STATE OF I{AINE
       couNrv oF oxFoRD
             Then personally appearedon this tr      day of Aprir, 2009,
       the abovc nanrcd ilames Horonitz and asknowledged the foregoi-nE
       etat,emsnt to be tne to the best of hls personal knowledge and
       belief,, before rqe,
                                                   D    u C-)Ac'dr,4
                                                   E*&y Public


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